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12   PLLC
13
                                    UNITED STATES DISTRICT COURT
14
                             NORTHERN DISTRICT OF CALIFORNIA
15
                                           SAN JOSE DIVISION
16
17   MURJ, Inc., a Delaware Corporation,         Case No. 5:21-cv-00072-EJD
18                     Plaintiff,                DEFENDANT’S REQUEST FOR JUDICIAL
                                                 NOTICE IN SUPPORT OF DEFENDANT’S
19          vs.                                  MOTION TO DISMISS PLAINTIFF’S
                                                 SECOND AMENDED COMPLAINT
20   RHYTHM MANAGEMENT GROUP,
     PLLC, a District of Columbia Limited        Date:      June 23, 2022
21   Liability Company,                          Time:      9:00 a.m.
                                                 Courtroom: 4, Fifth Floor
22                     Defendant.
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27
            DEFENDANT’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANT’S MOTION TO
28                                        DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT
                                                                  CASE NO. 5:21-CV-00072-EJD
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 1          Pursuant to Federal Rule of Evidence 201, Defendant Rhythm Management Group, PLLC

 2   (“Rhythm”) respectfully requests that the Court take judicial notice of the following documents in

 3   support of Rhythm’s Motion to Dismiss.

 4          1. True and correct, authenticated copies of Murj’s website:

 5                     a. The archived version of Murj’s website from the Internet Archive’s

 6                         Wayback Machine at Archive.org, depicting how the website as it appeared

 7                         on      June       24,            2017    (available     at    the     URL

 8                         https://web.archive.org/web/20170624164252/https://www.murj.com/remo

 9                         te-inofficesolution/)

10                     b. The archived version of Murj’s website from the Internet Archive’s

11                         Wayback Machine at Archive.org, depicting how the website as it appeared

12                         on       July      7,         2017        (available     at    the     URL

13                         https://web.archive.org/web/20170707183452/https://murj.com/)

14                     c. The archived version of Murj’s website from the Internet Archive’s

15                         Wayback Machine at Archive.org, depicting how the website as it appeared

16                         on      October         20,        2017     (available    at   the     URL

17                         https://web.archive.org/web/20171020023603/https://www.murj.com/)

18                     d. The archived version of Murj’s website from the Internet Archive’s

19                         Wayback Machine at Archive.org, depicting how the website as it appeared

20                         on       July      1,         2018        (available     at    the     URL

21                         https://web.archive.org/web/20180701214135/https://www.murj.com/)

22                     e. The authenticated copies of Murj’s website are attached as Exhibit A to the

23                         Affidavit of Duncan Hall which is Exhibit 1 to the Declaration of Michael

24                         L. Lindinger.

25          2. True and correct copies of the following publications:

26                     a. Murj’s Twitter post and image therein, dated January 18, 2018 (available at

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28           DEFENDANT’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANT’S MOTION TO
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 1                    the URL https://twitter.com/gomurj/status/954074704108810240), which is

 2                    attached as Exhibit 2 to the Declaration of Michael L. Lindinger.

 3                b. Murj’s Twitter post and image therein, dated May 23, 2018 (available at

 4                    the URL https://twitter.com/gomurj/status/999353059259101185), which is

 5                    attached as Exhibit 3 to the Declaration of Michael L. Lindinger.

 6                c. Debbe McCall’s Twitter post and images therein, dated May 8, 2018

 7                    (available                     at                the                  URL

 8                    https://twitter.com/DebbeMcCall/status/993913000271761409), which is

 9                    attached as Exhibit 4 to the Declaration of Michael L. Lindinger.

10                d. Murj’s Twitter post and image therein, dated May 2, 2017 (available at the

11                    URL https://twitter.com/gomurj/status/859426088262520835), which is

12                    attached as Exhibit 5 to the Declaration of Michael L. Lindinger.

13                e. Gunnar Anderson’s Twitter post and image therein, dated March 10, 2018

14                    (available                     at                the                  URL

15                    https://mobile.twitter.com/1_DIRECTION_F3/status/97246071395546316

16                    8), which is attached as Exhibit 6 to the Declaration of Michael L.

17                    Lindinger.

18                f. Murj’s Twitter post and image therein, dated May 9, 2018 (available at the

19                    URL          https://mobile.twitter.com/gomurj/status/994309875172704256),

20                    which is attached as Exhibit 7 to the Declaration of Michael L. Lindinger.

21                g. Jim Collins’s Twitter post and image therein, dated May 11, 2018

22                    (available                     at                the                  URL

23                    https://mobile.twitter.com/CardiologyCoder/status/994954148830502912),

24                    which is attached as Exhibit 8 to the Declaration of Michael L. Lindinger.

25                h. The publication Reverse Engineering and Design Recovery: A Taxonomy,

26                    Chikofsky and Cross, IEEE Software 13-17 (January 1990) (available at

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 1                           https://www.cs.cmu.edu/~aldrich/courses/654-

 2                           sp05/ReengineeringTaxonomy.pdf) (last accessed January 6, 2021)

 3            Courts can take judicial notice of facts “not subject to reasonable dispute” because they

 4   “can be accurately and readily determined from sources whose accuracy cannot reasonably be

 5   questioned.” Fed. R. Evid. 201(b). A court “must take judicial notice if a party requests it and

 6   the court is supplied with the necessary information.” Fed. R. Evid. 201(c). Judicial notice is

 7   appropriate when the “Court need not consider any content within the publications in such a way

 8   that would create a disputed fact.” In re Tesla Secs. Litig., 477 F. Supp. 3d 903, 920 (N.D. Cal.

 9   2020).

10            Rhythm requests judicial notice of two categories of documents: (1) archived versions of

11   the Murj website, (2) publicly available websites, including Twitter posts and images therein.

12   Courts routinely take judicial notice of these types of documents. These documents are “sources

13   whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b).

14            First, courts in this district routinely take judicial notice of the historical appearance of

15   websites, as archived and retrieved through the Internet Archive’s Wayback Machine. See, e.g.,

16   Erickson v. Neb. Mach. Co., 2015 WL 4089849, at *1 n.1 (N.D. Cal. July 6, 2015) (“Courts have

17   taken judicial notice of the contents of web pages available through the Wayback Machine as

18   facts that can be accurately and readily determined from sources whose accuracy cannot

19   reasonably be questioned.”); Craigslist, Inc. v. Dealercmo, Inc., 2017 WL 6334142, at *3 n.3

20   (N.D. Cal. Apr. 11, 2017) (taking judicial notice of “the appearance of the webpages”); Tompkins

21   v. 23andMe, Inc., 2014 WL 2903752, at *1 n.1 (N.D. Cal. June 25, 2014) (taking judicial notice

22   of archived version of website via the Internet Archive); Parziale v. HP, Inc., 2020 U.S. Dist.

23   LEXIS 179738, at *7-8 (N.D. Cal. Sept. 29, 2020) (finding a page on the Wayback Machine

24   “relevant and inherently reliable” to take judicial notice). Here, Rhythm has obtained forensic

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 1   evidence, authenticated by Duncan Hall, a Records Request Processor at the Internet Archive,1 of

 2   screenshots of the Internet Archive’s records of the archived files for the URLs and the dates

 3   specified, for archived versions of Murj’s website attached as Exhibit A to the Affidavit of

 4   Duncan Hall (“Hall Affidavit”), which is attached as Exhibit 1 to the Declaration of Michael L.

 5   Lindinger. Thus, Rhythm respectfully requests that the Court take judicial notice of the fact that,

 6   as authenticated by a Records Request Processor, the archived Murj websites listed in Exhibit A

 7   to the Hall Affidavit were each published comprising the information and images of the Murj

 8   Platform available as of the date of the websites.

 9            Second, judicial notice of information on “publicly available websites,” including articles

10   (such as Exhibit 9 to the Declaration of Michael L. Lindinger), is also appropriate. See Von Saher

11   v. Norton Simon Museum of Art at Pasadena, 592 F.3d 954, 960 (9th Cir. 2009) (taking judicial

12   notice of “various newspapers, magazines, and books” and holding the “[c]ourts may take judicial

13   notice of publications introduced to ‘indicate what was in the public realm at the time, not

14   whether the contents of those articles were in fact true’”) (quoting Premier Growth Fund v.

15   Alliance Capital Mgmt., 435 F.3d 396, 401 n.15 (3d Cir. 2006)); In re Facebook, Inc. Secs. Litig.,

16   405 F. Supp. 3d 809, 827 (N.D. Cal. 2019) (describing that a court can take judicial notice “that

17   the market was aware of information contained in news articles”); Brown v. Google, LLC, 525 F.

18   Supp. 3d 1049, 1061 (N.D. Cal. 2021) (taking judicial notice of documents “on publicly available

19   websites”). And courts in this district recognize that the judicial notice doctrine also applies to

20   Twitter posts (also known as Tweets), which includes Exhibits 2-8 of the Declaration of Michael

21   L. Lindinger. See, e.g., In re Tesla Secs. Litig., 477 F. Supp. 3d at 920; In re Twitter, Inc. Secs.

22   Litig., 2020 WL 4187915, at *2-3 (N.D. Cal. Apr. 17, 2020) (collecting cases); Unsworth v.

23   Musk, 2019 WL 5550060, at *4 (N.D. Cal. Oct. 28, 2019) (taking judicial notice of tweets and

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         The Records Request Processor describes the Internet Archive as a website that provides access
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     to a digital library of Internet sites and other cultural artifacts in digital form. Lindinger Dec., Ex.
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     1 (Hall Affidavit), ¶2.
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 1   news articles).

 2           Rhythm does not request judicial notice of any disputed fact contained in these

 3   publications or images contained therein. Rather, Rhythm respectfully requests that the Court

 4   take judicial notice of the fact that the information, contained in Exhibits 1-9 of the Declaration of

 5   Michael L. Lindinger, was publicly available before the parties signed the Agreement in August

 6   2018.

 7                                             CONCLUSION

 8           The Court should take judicial notice of Exhibits 1-9 attached to the Declaration of

 9 Michael L. Lindinger.
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     Dated: January 7, 2022                        Respectfully submitted,
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